EXHIBIT 6

[REDACTED]
  From: Melissa J. Hogan melissajhogan@qavahlaw.com
Subject: Re: Hunt v. Southern Baptist Convention, et al. - client using pseudonym
   Date: April 9, 2024 at 11:38 AM
     To: Patrick Sanders patrick.sanders@macgilllaw.com
    Cc: Basyle Tchividjian boz@bozlawpa.com, Robert MacGill robert.macgill@macgilllaw.com, Scott Murray
         Scott.Murray@macgilllaw.com

     I don’t think we need a call for this. I saw your motion to seal filed today, but again, our position is that given that our client’s name and identifying information was
     redacted at every point prior to us notifying you that we were proceeding with motions to use a pseudonym and a protective order, and then within days, you file her
     name openly multiple times, this is outrageous.

     I will ask you a third and final time before I file, do you oppose our motion to proceed under a pseudonym and require redaction of my client’s name and identifying
     information?

     Melissa


       On Apr 9, 2024, at 10:34 AM, Patrick Sanders <patrick.sanders@macgilllaw.com> wrote:


       Melissa,

       Are you available for a call at 4:30pm ET today to discuss?

       Thank you,

       Patrick Sanders
       Associate
       MacGill PC
       Patrick.Sanders@MacGillLaw.com
       w: 317-961-5390
       m: 317-670-1557
       www.MacGillLaw.com


       On Tue, Apr 9, 2024 at 11:11 AM Melissa J. Hogan <melissajhogan@qavahlaw.com> wrote:
        Today I plan to ask the court to expedite all of my client’s motions related to the deposition (use pseudonym, redaction, protective order) given that it’s noticed for
        4/16, only a week away. Does anyone oppose?

         Melissa


            On Apr 8, 2024, at 2:30 PM, Melissa J. Hogan <melissajhogan@qavahlaw.com> wrote:

            Robert,
            Per your letter, I can confirm that Boz represents a party in a case scheduled to commence trial in New York State on April 15, 2024. Please confirm that means
            you are in agreement to May 21 if the court so consents. Again, other parties were also free May 7, 8, or May 22 as well.

            Please confirm on this issue and the item below.

            Regards,
            Melissa


            Melissa J. Hogan, Esq.
            QAVAH LAW
            melissajhogan@qavahlaw.com
            615.293.6623

               On Apr 8, 2024, at 10:42 AM, Melissa J. Hogan <melissajhogan@qavahlaw.com> wrote:

               Robert,
               Your letter did not address this issue and therefore I wanted to check in again and confirm whether or not you were opposing our motion for our client to
               proceed under a pseudonym and require redaction of her identifying information from any filings. I would appreciate your response by 5pm ET today.

               Regards,
               Melissa

               Melissa J. Hogan, Esq.
               QAVAH LAW
               melissajhogan@qavahlaw.com
               615.293.6623

                  On Apr 5, 2024, at 7:46 AM, Melissa J. Hogan <melissajhogan@qavahlaw.com> wrote:

                  Robert,
                  My email already described the issue but I’ll elucidate it further in the motion if I need to. We’re all aware of the facts of this case. Will you be opposing the
                  motion?

                  Regards,
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                    On Apr 5, 2024, at 4:52 AM, Robert MacGill <robert.macgill@macgilllaw.com> wrote:

                    Melissa,
Melissa,

Can you explain the basis for your claim?

Are you claiming a right of privacy on behalf of your client and/or that disclosure would be an invasion of privacy?

Please provide more details legally and factually for your claim. I am hoping that once you provide more information on the basis for your claim that we can
come to an agreement that is appropriate.

Best regards.

Robert D. MacGill
MacGill PC
156 E. Market St.
Suite 1200
Indianapolis, IN 46260
317.442.3825
Robert.MacGill@MacGillLaw.com

P Please consider the environment before printing this email.


On Thu, Apr 4, 2024 at 1:49 PM Scott Klein <Klein@mintzandgold.com> wrote:

  Melissa,

  Guidepost does not object.



    <image001.png>          Scott Klein

                            600 Third Avenue, 25th Fl., New York, NY 10016

                            D 646.792.0333 | O 212.696.4848 | C 917.886.2204


                            <image002.png>




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  From: Melissa J. Hogan <melissajhogan@qavahlaw.com>
  Sent: Thursday, April 4, 2024 12:07 PM
  To: Scott Klein <Klein@mintzandgold.com>
  Cc: Robert MacGill <robert.macgill@macgilllaw.com>; Allison Carter <acarter@rjfirm.com>; Adam
  Brody <brody@mintzandgold.com>; Alex Otchy <otchy@mintzandgold.com>; Basyle Tchividjian
  <boz@bozlawpa.com>; Callas, Gretchen <gcallas@jacksonkelly.com>; John Jacobson
  <JJacobson@rjfirm.com>; Kathy Klein <KKlein@rjfirm.com>; Steve Mintz
  <Mintz@mintzandgold.com>; Terence McCormick <McCormick@mintzandgold.com>; Thomas J.
  Hurney, Jr. - Jackson Kelly PLLC (thurney@jacksonkelly.com) <thurney@jacksonkelly.com>;
  agoldstein@colelawgrouppc.com; bbundren@bradley.com; gbesen@bradley.com;
  gmarchetti@tpmblaw.com; matt@tpmblaw.com; patrick.sanders@macgilllaw.com;
  scott.murray@macgilllaw.com; snokes@bradley.com; tcole@colelawgrouppc.com;
  tpresnell@bradley.com
  Subject: Hunt v. Southern Baptist Convention, et al. - client using pseudonym

  Although this wasn’t specifically mentioned in our meet and confers, I believe it was understood, but I wanted to cover it to be clear. Our client intends to
  move to proceed under a pseudonym and seal the subpoena/notice and redact identifying information, as a non-party to this action regarding sensitive
  personal events. I don’t believe this prejudices any party as everyone here is aware of her identity. Please confirm whether or not you have an objection
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         Allison Carter acarter@rjfirm.com, Basyle Tchividjian boz@bozlawpa.com, Callas, Gretchen gcallas@jacksonkelly.com,
         John Jacobson JJacobson@rjfirm.com, Kathy Klein KKlein@rjfirm.com, Steve Mintz mintz@mintzandgold.com,
         Terence McCormick McCormick@mintzandgold.com, Thomas J. Hurney, Jr. - Jackson Kelly PLLC (thurney@jacksonkelly.com)
         thurney@jacksonkelly.com, agoldstein@colelawgrouppc.com, bbundren@bradley.com, gbesen@bradley.com,
         gmarchetti@tpmblaw.com, matt@tpmblaw.com, patrick.sanders@macgilllaw.com, scott.murray@macgilllaw.com
         Scott.Murray@macgilllaw.com, snokes@bradley.com, tcole@colelawgrouppc.com, tpresnell@bradley.com

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  Hurney, Jr. - Jackson Kelly PLLC (thurney@jacksonkelly.com) <thurney@jacksonkelly.com>;
  agoldstein@colelawgrouppc.com; bbundren@bradley.com; gbesen@bradley.com;
  gmarchetti@tpmblaw.com; matt@tpmblaw.com; patrick.sanders@macgilllaw.com;
  scott.murray@macgilllaw.com; snokes@bradley.com; tcole@colelawgrouppc.com;
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